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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2024-90213
      Steward Health Care System LLC
      First Day Motions




      Case Type :                    bk
      Case Number :                  2024-90213
      Case Title :                   Steward Health Care System LLC

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